FORM o11tvcsm
(Eff. 01/01/24)



                             UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF ARIZONA

In re:                                                         Case No.: 4:24−bk−05605−BMW

     ANTHONY LEO MONTEZ, ESTATE                                Chapter: 11
     42080 W ANNE LANE
     MARICOPA, AZ 85138
     SSAN:
     EIN: 99−6522518

Debtor(s)


                                    CHAPTER 11 CASE MANAGEMENT ORDER

Pursuant to 11 U.S.C. § 105(d), a status hearing will be held in the above−captioned case via videoconference on
9/12/24 at 10:30 AM.

Videoconference Hearing Guidelines may be reviewed on the Court's website at
https://azb.uscourts.gov/videoconference−hearing−guidelines.

Any interested parties may appear via https://www.zoomgov.com/. The hearing ID is 161 690 4208 and the passcode
is 072652. Alternatively, any interested parties may access the hearing using the following link:
https://www.zoomgov.com/j/1616904208?pwd=VUVLcVlJejZEVEp2K25WdmZ3WlFuZz09.

Debtor's counsel shall address the following issues at the status hearing:

        1. The nature and status of Debtor's operations;
        2. The factors that led to the bankruptcy filing;
        3. Whether this is a small business case as defined in 11 U.S.C. § 101(51C) or a single asset real estate case as
           defined in 11 U.S.C. § 101(51B);
        4. Whether counsel has been appointed;
        5. Whether Debtor will seek to employ any other professionals;
        6. Whether required reports have been filed and required U.S. Trustee's fees have been paid;
        7. Whether administrative operating expenses have been paid on a current basis;
        8. Whether there are any unique issues regarding secured debt, employees, unexpired leases, existing
           management and/or equity owners, etc.;
        9. The status of all FICA, FUTA and other employee withholdings;
       10. The status of any litigation involving Debtor;
       11. The proposed deadline for filing proofs of claim and interests;
       12. The deadline for filing a plan.

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Failure to file monthly operating reports or to pay quarterly fees to the U.S. Trustee may constitute cause for
immediate conversion to Chapter 7 or dismissal of the case. Failure to abide by the law with respect to FICA, FUTA,
and any other employee withholdings may constitute cause for immediate conversion to Chapter 7.

A non−small business debtor has 120 days to file a plan during the exclusivity period and 180 days for that plan to be
accepted by each class of claims or interests that is impaired under the plan. 11 U.S.C. § 1121.

A small business debtor that has not elected to proceed under subchapter V of Chapter 11 has 180 days to file a plan
during the exclusivity period but must file a plan and disclosure statement not later than 300 days after the date of the
order for relief. 11 U.S.C. § 1121(e). The plan must be confirmed within 45 days of its filing unless an extension is
timely granted. 11 U.S.C. § 1129(e).

Debtor's counsel shall promptly serve a copy of this order on the U.S. Trustee and all parties on the master mailing list
on file with the Court.

Date: July 24, 2024                                          BY THE COURT



Address of the Bankruptcy Clerk's Office:                    Honorable Brenda Moody Whinery
U.S. Bankruptcy Court, Arizona                               United States Bankruptcy Judge
38 S. Scott Avenue
Tucson, AZ 85701−1704
Telephone number: (520) 202−7500
www.azb.uscourts.gov




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